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Transcontinental Realty Netwark
Tag Farvra of Rei Grate.

January 235,2009

Ms.

Katherine

NATIONAL CITY

Loss Mitigation Deparnnent
Fax: 440-346-6789

RE: File: 4489618130255178
Pablo Sevilla

Dear Ms. Katherine:

Enclosed please find the financial information for Mr. Pablo Sevilla along with the Authorization to
provide information to us. Mr. Sevilla has been trying to sell the property and do a Short sale with
no results for the last seven months, now he is facing foreclosure from ‘WAMU, the court date has
been scheduled for February 28%,2009.

In order to avoid further damage to his credit he would like to enter into a settlement agreement with
your Bank in order ro clase the account as soon as possible. As you are aware for the enclosed Value
report the property is at the moment worth less than the amount owed to the first lender and for that
reason in case it would enter into a foreclosure procedure your Bank will be severally affected.

For that reason we have been insmucted by Mr. Sevilla to present a settlement offer for the amount
of § 2.500,00.

I hope thar you will cake this offer into consideration and will let us know your answer as soon as
possible.

Once again I want to thank you for your extraordinary cooperation and urge you to take care of this
matter as soon as possible as tme is of the essence.

Sincerely, \
COTeoto-
Cectha Ycaza

Transcontinental Realty Network

9851 NW 58th St. Suite 104 Doral, FI 33178
Phone 305 599 1404 Fax 305 599 1401 email oneshortsale@yahoo.com

